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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re

        DIDAR SINGH                                               Chapter 13
                                                                  Case #: 17-70680-ast

                                   Debtors

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     STIPULATION AND ORDER SETTING ALLOWED CLAIM OF CREDITOR
                      FIRST JERSEY CREDIT UNION

       WHEREAS, the debtor filed the instant Chapter 13 petition with this Court on or
about February 7, 2017; and


        WHEREAS, at the time of filing the debtor was the guarantor of two promissory
notes (the "Notes") given by MDAMRIT Taxi Inc. (“MDAMRIT”) and Cheema
Transportation Corp. ("Cheema") to First Jersey Credit Union ("First Jersey"), each in the
principal amount of $1,700,000.00; and


        WHEREAS, on March 8, 2017, First Jersey, by counsel, filed proof of claim
number 1-1 in the amount of $3,233,233.46 (the "Unpaid Amount"); and


        WHEREAS, MDAMRIT, Cheema and First Jersey have reached a global
resolution and restructuring of the Notes (as modified, the "Restructured Notes"); and


        WHEREAS, at the time of filing, the debtor had non-exempt equity its property to
which would inure to First Jersey and the creditors of this estate in the event of the
liquidation of such property; and


        WHEREAS, the Debtor has provided First Jersey with current appraisals of the
fair market value of any and all non-exempt assets of the Debtor, including, but not
limited to, any and all real property owned by the Debtor (the "Real Property"), as well as
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a liquidation analysis of the Debtor’s non-exempt assets and the parties agree that the net
liquidation value of the Debtor’s non-exempt assets for the purposes of this Chapter 13
case is $72,740.00.


        WHEREAS, after extended discussions between the debtor's counsel and counsel
for First Jersey, the parties have reached an amicable resolution regarding the disposition
of this claim without the necessity of prosecuting any motion practice before this Court;
and


        WHEREAS, after due deliberation by both parties, the parties desire to enter into
this stipulation to reflect the treatment of the proof of claim filed by First Jersey.


        NOW, THEREFORE, is hereby stipulated and agreed that;


        1. Proof of claim #1-1 filed by First Jersey on March 8, 2017, in the amount of
$3,233,233.46 shall be reclassified, reduced, and allowed, as a general unsecured claim in
the amount of $72,740.00 (the "Reduced Amount")
.
        2. MDAMRIT, Cheema and First Jersey shall enter into a separate agreements
(the "Modified Loan Agreements") encompassing the terms of the Restructured Notes.


        3. Debtor shall: (a) confirm a Chapter 13 plan of reorganization (the "Plan"); (b)
First Jersey shall be paid 100% of the Reduced Amount under the Plan; (c) remain
current on all Plan requirements necessary to receive a bankruptcy discharge; and (d)
compel MDAMRIT and Cheema to remain current under the terms of the Modified Loan
Agreement during the life of the Plan.


        4. Debtor's failure to comply with any of the requirements of paragraph 3 above
shall be deemed a default under this agreement (each, a "Default").
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        5. Upon a Default by the Debtor, as described in paragraph 3 above, First Jersey
 shall be entitled to seek the full Unpaid Amount from the Debtor and/or MDAMRIT and
 Cheema respectively under the terms of the original Notes, including, but not limited to,
 filing an objection to the confirmation of the Plan, seeking relief from the automatic stay
 and/or moving to dismiss the Debtor's Chapter 13 case.


        6. This settlement agreement is subject to approval by the Bankruptcy Court.




 Dated: April 24, 2018                                s/Richard S. Feinsilver
        Carle Place, New York                         ___________________
                                                      Richard S. Feinsilver, Esq.
                                                      Attorney for Debtor


 Dated: March 5, 2018                                 Macco and Stern LLP
        Islandia, New York

                                                      s/Cooper J. Macco
                                                      ______________________
                                                      Cooper J. Macco, Esq.
                                                      Attorney for First Jersey


 "SO ORDERED"




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Dated: May 9, 2018                                                   Alan S. Trust
       Central Islip, New York                              United States Bankruptcy Judge
